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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater * MDL NO. 2179
Horizon” in the Gulf of Mexico, on April *
20, 2010 * SECTION J
This document relates to all actions. *
* HONORABLE CARL J.
* BARBIER
*
* MAGISTRATE JUDGE
* SHUSHAN
*
Bon Secour Fisheries, Inc., ef al., individually * Civil Action No. 12-970
and on behalf of themselves and all others *
similarly situated, * SECTION J
*
Plaintiffs, *
* HONORABLE CARL J.
Vv. * BARBIER
*
BP Exploration & Production Inc; BP * MAGISTRATE JUDGE
America Production Company; BP p.Lc., * SHUSHAN
*

Defendants.

DECLARATION OF ANDREW T. KARRON RELATING TO THE SUBMISSION OF IN
CAMERA MATERIALS PRIOR TO MARCH 5, 2013

Andrew T. Karron deposes and states, pursuant to 28 U.S.C. § 1746:

1. I am a partner in the law firm of Arnold & Porter LLP, resident in the firm’s
Washington, D.C. office. I am counsel for BP Exploration & Production Inc., BP America
Production Company, and BP p.l.c. in the above-captioned case. I personally and directly
participated in negotiating the Business Economic Loss Framework provisions of the Economic
and Property Damages Settlement Agreement, as amended (the “Settlement Agreement”), which

received final approval from the Hon. Carl J. Barbier of the United States District Court for the
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Fastern District of Louisiana (the “District Court”) on December 21, 2012 (Rec. Doc. 8138,
8139).

2. I personally and directly participated in briefing involving the Claims
Administrator of the Court-Supervised Settlement Program (the “Settlement Program”) created
under the Settlement Agreement and, thereafter, participated in proceedings before the District
Court with Class Counsel and the Claims Administrator regarding the Settlement Program’s
implementation of the Settlement Agreement’s Business Economic Loss Framework set forth in
Settlement Agreement Exhibits 4A-4E. The proceedings were conducted pursuant to the
Settlement Agreement’s provisions as the parties understand them. I have personal knowledge
of the facts set forth herein.

3. Attached hereto are what I believe to be true and correct copies of the following
documents that were provided to the District Court or referenced by the Claims Administrator
and counsel for the parties during the proceedings, as well as two documents distributed by the
District Court to counsel for the parties. The documents have been redacted to redact claimant
identifying information -- that is, the name of the claimant, precise address, and claim number
have been redacted. The number next to each document corresponds to the attachment tab:

1. The Settlement Agreement as amended, including exhibits.

A. Settlement Agreement.
B. Exhibits 1A - 27.

2. Settlement Program Business Economic Loss Claim Form.

a

Settlement Program Business Economic Loss Claim Form Instructions.
4. October 8, 2012 Settlement Program Policy Announcement.

5. October 22, 2012 Settlement Program Policy Announcement: Reminder
Regarding Documentation Requirements for Business Economic Loss Claims.
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10.

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12.

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14.

15.

December 16, 2012 Class Counsel submission to Claims Administrator.

January 8, 2013 BP’s Response to Class Counsel’s December 16, 2012
submission.

January 11, 2013 BP’s Further Submission to the Claims Administrator.

January 15, 2013 Settlement Program Policy Announcement and accompanying
transmittal email from R. Foreman.

January 16, 2013 In Camera Referral Of Panel Issue To Judge Barbier by P.
Juneau with attachments.

January 23, 2013 BP in camera submission to Judge Barbier.

A.

B.

E.

F,

Letter from R. Godfrey.

PowerPoint.

October 8, 2012 Settlement Program Policy Announcement.
Declaration of Charles E. Finch.

Declaration of David A. Hall.

Declaration of Xavier Oustalniol.

January 23, 2013 Class Counsel’s in camera submission to Judge Barbier.

A.

B.

C.

Dz.

Memorandum.
Declaration of Allen Carroll (Jan. 16, 2013).

Affidavit of Harold Asher (Jan. 15, 2013).

Affidavit of Rick Stutes (Jan. 17, 2013).

January 24, 2013 summary of accounting literature tendered by R. Godfrey to the
Court and Class Counsel.

January 30, 2013 email from Judge Barbier: “Review of Issue from Panel
(Matching of Revenue and Expenses)”.

February 5, 2013 email string between R. Godfrey and B. Allums regarding BP’s
request for informal status conference.
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16. February 6, 2013 email from Judge Barbier vacating January 30, 2013 decision
and directing parties to engage in mediation with Daniel Balhoff and to report to
the Court by February 20, 2013. :

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18.

February 15, 2013 email from B. Allums to the parties.

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February 18, 2013 BP’s In Camera Motion To Reverse And Set Aside The
Claims Administrator’s January 15, 2013 Policy Decision Concerning The
Business Economic Lass Framework.

Declaration of J. Lester Alexander III.

Declaration of J. Richard Dietrich.

Declaration of Charles E. Finch.

Supplemental Declaration of Charles E. Finch.

Declaration of David A. Hall.

Supplemental Declaration of David A. Hall.

Declaration of Xavier Oustalniol.

Supplemental Declaration of Xavier Oustalniol.

Declaration of A. Mitchell Polinsky.

Declaration of Jeffrey O. Rose.

Declaration of Hal Sider.

Declaration of Roman L. Weil.

Class Counsel’s December 16, 2012 Memo.

January 15, 2013 Settlement Program Policy Announcement E-Mail.
January 15, 2013 Settlement Program Policy Announcement.

October 8, 2012 Settlement Program Policy Announcement.

August 2, 2012 Memo from L. Greer to P. Juneau.

Class Counsel February 7, 2013 Wetlands Submissions.
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19. A. February 18, 2013 Class Counsel’s Opposition To BP’s Motion For
Reconsideration.

B. Exhibit List to Class Counsel’s Opposition.
C. Settlement Agreement Ex. 4C - Compensation.
D. Settlement Agreement Ex. 4A - Documentation.

E. February 17, 2012 Memo from R. Godfrey to J. Rice and C. Fayard.

F, Excerpts from Preliminary Approval Hearing Transcript.
G. Excerpts from BP’s Memorandum in Support of the Settlement.
H. Excerpts from declarations submitted by BP in support of the Settlement.

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Declaration of Holly Sharp.
J. Settlement Program Appeals Panel Training Powerpoint.
K. September 19, 2012 Class Counsel Memo to Claims Administrator.

L. September 25, 2012 Settlement Program Announcement of Policy
Statements.

M September 25, 2012 M. Juneau email.
N. September 28, 2012 letter from M. Holstein (excerpt).
O

September 28, 2012 letter from M. Holstein (second excerpt).

P. September 28, 2012 memo from Class Counsel to Claims Administrator.
Q. October 8, 2012 Settlement Program Policy Announcement.

R. October 10, 2012 Announcement of Policy Statement.

S. Settlement Agreement Fairness Hearing Transcript (excerpts).

T. Joint Proposed Findings of Fact and Conclusions of Law in Support of

Final Approval of Settlement (excerpts).

Uz December 12, 2012 email from D. Cantor.
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December 12, 2012 email from Judge Barbier re not-for-profits.
January 15, 2013 Settlement Program Policy Announcement.
Declaration of Allen Carroll (Jan. 16, 2013).

Affidavit of Harold Asher (Jan. 15, 2013).

Affidavit of Rick Stutes (Jan. 17, 2013).

Declaration of Mark Kohlbeck (Feb. 18, 2013).

Kieso, Wygant, Intermediate Accounting (13th ed.) (excerpt).

Excerpts from BP’s draft expert declarations submitted in connection with
mediation.

February 16, 2013 email from M.B. Mantiply.

Declaration of Robert Michael Wallace (Feb. 17, 2013).
Declaration of George Panzeca (Feb. 18, 2013).

Declaration of John Tomlinson and attachments (Feb. 18. 2013).

Supplemental Declaration of Allen Carroll (Feb. 18, 2013).

I declare under penalty of perjury that the foregoing is true and correct.

Executed this! (ay of Nea RCH , 2013 in WASHINGTON . D . C.

Andrew T. Karron

